 Case 21-10275-TPA        Doc 28-1 Filed 09/15/21 Entered 09/15/21 13:03:46                       Desc
                           Certificate of Service Page 1 of 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: David A. Robinson                               BK NO. 21-10275 TPA
                                      Debtor(s)
                                                           Chapter 13
    Rocket Mortgage, LLC f/k/a Quicken
    Loans, LLC f/k/a Quicken Loans Inc.
                                Movant
                  vs.

    David A. Robinson
                                      Debtor(s)

    Rhonda J. Winnecour,
                                      Trustee

                        CERTIFICATE OF SERVICE
    NOTICE OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE COVID-
                             19 PANDEMIC
    I, Maria Miksich of KML Law Group, P.C., certify that I am, and at all times hereinafter mentioned
    was, more than 18 years of age and that on September 15, 2021, I served the above captioned
    pleading, filed in the proceeding on the parties at the addresses shown below;

    Debtor(s)                                              Attorney for Debtor(s)
    David A. Robinson                                      Rebeka Seelinger, 4640 Wolf Road
    10175 Dietzel Road                                     Erie, PA 16505
    Union City, PA 16438
                                                           Trustee
                                                           Rhonda J. Winnecour
                                                           Suite 3250, USX Tower
                                                           600 Grant Street
                                                           Pittsburgh, PA 15219


Method of Service: electronic means or first class mail

Dated: September 15, 2021

                                                           /s/Maria Miksich Esquire
                                                           Maria Miksich Esquire
                                                           Attorney I.D. 319383
                                                           KML Law Group, P.C.
                                                           BNY Mellon Independence Center
                                                           701 Market Street, Suite 5000
                                                           Philadelphia, PA 19106
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